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Exhibit 81
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Sent: Sunday, January 29, 2017 4:51 AM
To: DuFour, Ray
Subject: Harassment and intimidation

Hi Ray,
I hope all is well with you. There is a lot of ignorance going on and it sucks all the fun out of the job. I wanted to
share what was on the plane today when I picked it up in         .
A copy was left in the cockpit and another copy in the right crew bunk magazine holder. My flight was
                      . Hoping for better times here at Atlas.
Gratitude,
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